Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 1 of 43 Page ID #:1




                              UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA


SALVADOR ACEVES, JR., individually,               Case No. 2:23-cv-9960
and on behalf of all others similarly
situated,
                                                  CLASS ACTION COMPLAINT
                        Plaintiffs,
                                                  JURY TRIAL DEMANDED
vs.
AUTOZONE, INC.,
                        Defendant.




 Representative Plaintiff alleges as follows:

                                         INTRODUCTION

        1.      Representative Plaintiff Salvador Aceves, Jr. (“Representative Plaintiff”) brings

 this Class Action Complaint against Defendant AutoZone, Inc. (“Defendant” or “AutoZone”) for

 its failure to properly secure and safeguard Representative Plaintiff’s and Class Members’

 personally identifiable information stored within Defendant’s information network, including,

 without limitation, full names and Social Security numbers (these types of information, inter alia,

 being thereafter referred to, collectively, as “personally identifiable information” or “PII”). 1

        2.      With this action, Representative Plaintiff seeks to hold Defendant responsible for

 the harms it caused and will continue to cause Representative Plaintiff and, at least, thousands of



 1
     Personally identifiable information (“PII”) generally incorporates information that can be
 used to distinguish or trace an individual’s identity, either alone or when combined with other
 personal or identifying information. 2 C.F.R. § 200.79. At a minimum, it includes all information
 that on its face expressly identifies an individual. PII also is generally defined to include certain
 identifiers that do not on its face name an individual, but that are considered to be particularly
 sensitive and/or valuable if in the wrong hands (for example, Social Security numbers, passport
 numbers, driver’s license numbers, financial account numbers, etc.).
                                                   1
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 2 of 43 Page ID #:2




 other similarly situated persons in the massive and preventable cyberattack purportedly discovered

 by Defendant, in which cybercriminals infiltrated Defendant’s inadequately protected network

 servers and accessed highly sensitive PII that was being kept unprotected (“Data Breach”).

        3.      While Defendant claims to have discovered the breach occurred as early as August

 15, 2023, Defendant did not inform victims of the Data Breach until November 21, 2023. Indeed,

 Representative Plaintiff and Class Members were wholly unaware of the Data Breach until they

 received letters from Defendant informing them of it.

        4.      Defendant acquired, collected, and stored Representative Plaintiff’s and Class

 Members’ PII. Therefore, at all relevant times, Defendant knew or should have known that

 Representative Plaintiff and Class Members would use Defendant’s services to store and/or share

 sensitive data, including highly confidential PII.

        5.      By obtaining, collecting, using, and deriving a benefit from Representative

 Plaintiff’s and Class Members’ PII, Defendant assumed legal and equitable duties to those

 individuals. These duties arise from state and federal statutes and regulations, and common law

 principles.

        6.      Defendant disregarded the rights of Representative Plaintiff and Class Members by

 intentionally, willfully, recklessly, and/or negligently failing to take and implement adequate and

 reasonable measures to ensure that Representative Plaintiff’s and Class Members’ PII was

 safeguarded, failing to take available steps to prevent unauthorized disclosure of data and failing

 to follow applicable, required and appropriate protocols, policies, and procedures regarding the

 encryption of data, even for internal use. As a result, Representative Plaintiff’s and Class

 Members’ PII was compromised through disclosure to an unknown and unauthorized third party—

 an undoubtedly nefarious third party seeking to profit off this disclosure by defrauding



                                                  2
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 3 of 43 Page ID #:3




 Representative Plaintiff and Class Members in the future. Representative Plaintiff and Class

 Members have a continuing interest in ensuring that their information is and remains safe and are

 entitled to injunctive and other equitable relief.

                                   JURISDICTION AND VENUE

         7.      Jurisdiction is proper in this Court under 28 U.S.C. § 1332 (diversity jurisdiction).

 Specifically, this Court has subject matter and diversity jurisdiction over this action under 28

 U.S.C. § 1332(d) because this is a class action where the amount in controversy exceeds the sum

 or value of $5 million, exclusive of interest and costs, there are more than 100 members in the

 proposed class, and at least one Class Member is a citizen of a state different from Defendant.

         8.      Supplemental jurisdiction to adjudicate issues pertaining to state law is proper in

 this Court under 28 U.S.C. § 1367.

         9.      Defendant is headquartered and/or routinely conducts business in the State where

 this District is located, has sufficient minimum contacts in this State, has intentionally availed itself

 of this jurisdiction by marketing and/or selling products and/or services and/or by accepting and

 processing payments for those products and/or services within this State.

         10.     Venue is proper in this Court under 28 U.S.C. § 1391 because a substantial part of

 the events that gave rise to Representative Plaintiff’s claims took place within this District and

 Defendant is headquartered and/or does business in this Judicial District.

               REPRESENTATIVE PLAINTIFF’S COMMON EXPERIENCES

         11.     Defendant received highly sensitive PII from Representative Plaintiff in connection

 with Plaintiff’s employment with Defendant between 2014 and 2023. As a result, Representative

 Plaintiff’s information was among the data an unauthorized third party accessed in the Data

 Breach.



                                                      3
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 4 of 43 Page ID #:4




        12.     Representative Plaintiff was and is very careful about sharing his PII.

 Representative Plaintiff has never knowingly transmitted unencrypted sensitive PII over the

 internet or any other unsecured source.

        13.     Representative Plaintiff stored any documents containing his PII in a safe and

 secure location or destroyed the documents. Moreover, Representative Plaintiff diligently chose

 unique usernames and passwords for his various online accounts.

        14.     Representative Plaintiff took reasonable steps to maintain the confidentiality of his

 PII and relied on Defendant to keep his PII confidential and securely maintained, to use this

 information for employment purposes only, and to make only authorized disclosures of this

 information.

        15.     The Notice from Defendant (attached as Exhibit A) notified Representative

 Plaintiff that Defendant’s network had been accessed and that Plaintiff’s PII may have been

 involved in the Data Breach.

        16.     Furthermore, Defendant’s Notice directed Representative Plaintiff to be vigilant

 and to take certain steps to protect his PII and otherwise mitigate his damages.

        17.     As a result of the Data Breach, Plaintiff heeded Defendant’s warnings and spent

 time dealing with the consequences of the Data Breach, which included time spent verifying the

 legitimacy of the Notice and self-monitoring his accounts and credit reports to ensure no fraudulent

 activity had occurred. This time has been lost forever and cannot be recaptured.

        18.     Representative Plaintiff suffered actual injury in the form of damages to and

 diminution in the value of Representative Plaintiff’s PII—a form of intangible property that

 Representative Plaintiff entrusted to Defendant, which was compromised in and because of the

 Data Breach.



                                                  4
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 5 of 43 Page ID #:5




        19.     Representative Plaintiff suffered lost time, annoyance, interference, and

 inconvenience because of the Data Breach and has anxiety and increased concerns for the loss of

 privacy, as well as anxiety over the impact of cybercriminals accessing, using, and selling

 Representative Plaintiff’s PII.

        20.     Representative Plaintiff suffered imminent and impending injury arising from the

 substantially increased risk of fraud, identity theft, and misuse resulting from his PII, in

 combination with his name, being placed in the hands of unauthorized third parties/criminals.

        21.     Representative Plaintiff has a continuing interest in ensuring that Representative

 Plaintiff’s PII, which, upon information and belief, remains backed up in Defendant’s possession,

 is protected and safeguarded from future breaches.

 Plaintiff’s Experiences

        22.     On or about November 21, 2023, Representative Plaintiff was notified via letter

 from Defendant that his PII had been accessed because of the Data Breach.

        23.     Representative Plaintiff is an adult individual and, at all times relevant herein, a

 resident and citizen of the State of California. Representative Plaintiff is a victim of the Data

 Breach. Defendant received Representative Plaintiff’s PII in connection with Plaintiff’s

 employment with Defendant.

        24.     As a result, Representative Plaintiff’s information was among the data an

 unauthorized third party accessed in the Data Breach.

        25.     Representative Plaintiff regularly monitors his credit and identity for fraudulent

 activity day since the Breach.

        26.     Representative Plaintiff is made uncomfortable because his personal information is

 on the dark web.



                                                 5
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 6 of 43 Page ID #:6




                                                DEFENDANT

        27.        Defendant is a Nevada corporation with a principal place of business located at 123

 South Front Street Memphis, Tennessee 38103.

        28.        According to their website, Defendant “is the leading retailer and a leading

 distributor of automotive replacement parts and accessories in the U.S.” 2

        29.        The true names and capacities of persons or entities, whether individual, corporate,

 associate or otherwise, who may be responsible for some of the claims alleged here are currently

 unknown to Representative Plaintiffs. Representative Plaintiff will seek leave of court to amend

 this Complaint to reflect the true names and capacities of such responsible parties when their

 identities become known.

                                    CLASS ACTION ALLEGATIONS

        30.        Representative Plaintiff brings this action pursuant to the provisions of Rules 23(a),

 (b)(2), and (b)(3) of the Federal Rules of Civil Procedure (“F.R.C.P.”) on behalf of Representative

 Plaintiff and the following classes/subclass(es) (collectively, the “Class(es)”):

                   Nationwide Class:
                   “All individuals within the United States of America whose PII was
                   exposed to unauthorized third parties as a result of the data breach
                   discovered by Defendant.”



        31.        Excluded from the Classes are the following individuals and/or entities: Defendant

 and Defendant’s parents, subsidiaries, affiliates, officers, and directors and any entity in which

 Defendant has a controlling interest, all individuals who make a timely election to be excluded

 from this proceeding using the correct protocol for opting out, any and all federal, state or local

 governments, including but not limited to its departments, agencies, divisions, bureaus, boards,


        2
            AutoZone, https://about.autozone.com/ (last accessed November 24, 2023)

                                                        6
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 7 of 43 Page ID #:7




 sections, groups, counsel, and/or subdivisions, and all judges assigned to hear any aspect of this

 litigation, as well as their immediate family members.

        32.     In the alternative, Representative Plaintiff requests additional subclasses as

 necessary based on the types of PII that were compromised.

        33.     Representative Plaintiff reserves the right to amend the above Class definitions or

 to propose other subclasses in subsequent pleadings and motions for class certification.

        34.     This action has been brought and may properly be maintained as a class action

 under F.R.C.P. Rule 23 because there is a well-defined community of interest in the litigation and

 membership of the proposed Classes is readily ascertainable.


                a.     Numerosity: A class action is the only available method for the fair
                       and efficient adjudication of this controversy. The members of the
                       Plaintiff Classes are so numerous that joinder of all members is
                       impractical, if not impossible. Representative Plaintiff are informed
                       and believe and, on that basis, allege that the total number of Class
                       Members is in the thousands of individuals. Membership in the
                       Classes will be determined by analysis of Defendant’s records.
                b.     Commonality: Representative Plaintiff and the Class Members
                       share a community of interest in that there are numerous common
                       questions and issues of fact and law which predominate over any
                       questions and issues solely affecting individual members, including,
                       but not necessarily limited to:
                       1)   Whether Defendant had a legal duty to Representative Plaintiff
                            and the Classes to exercise due care in collecting, storing, using
                            and/or safeguarding their PII;
                       2)   Whether Defendant knew or should have known of the
                            susceptibility of its data security systems to a data breach;
                       3)   Whether Defendant’s security procedures and practices to
                            protect its systems were reasonable in light of the measures
                            recommended by data security experts;
                       4)   Whether Defendant’s failure to implement adequate data
                            security measures allowed the Data Breach to occur;
                       5)   Whether Defendant failed to comply with its own policies and
                            applicable laws, regulations and industry standards relating to
                            data security;



                                                  7
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 8 of 43 Page ID #:8



                  6)   Whether Defendant adequately, promptly and accurately
                       informed Representative Plaintiff and Class Members that their
                       PII had been compromised;
                  7)   How and when Defendant actually learned of the Data Breach;
                  8)   Whether Defendant’s conduct, including its failure to act,
                       resulted in or was the proximate cause of the breach of its
                       systems, resulting in the loss of the PII of Representative
                       Plaintiff and Class Members;
                  9)   Whether Defendant adequately addressed and fixed the
                       vulnerabilities which permitted the Data Breach to occur;
                  10) Whether Defendant engaged in unfair, unlawful or deceptive
                      practices by failing to safeguard Representative Plaintiff’s and
                      Class Members’ PII;
                  11) Whether Representative Plaintiff and Class Members are
                      entitled to actual and/or statutory damages and/or whether
                      injunctive, corrective and/or declaratory relief and/or an
                      accounting is/are appropriate as a result of Defendant’s
                      wrongful conduct;
                  12) Whether Representative Plaintiff and Class Members are
                      entitled to restitution as a result of Defendant’s wrongful
                      conduct.
            c.    Typicality: Representative Plaintiff’s claims are typical of the
                  claims of the Plaintiff Classes. Representative Plaintiff and all
                  members of the Plaintiff Classes sustained damages arising out of
                  and caused by Defendant’s common course of conduct in violation
                  of law, as alleged herein.
            d.    Adequacy of Representation: Representative Plaintiff in this class
                  action is adequate representatives of each of the Plaintiff Classes in
                  that Representative Plaintiff have the same interest in the litigation
                  of this case as the Class Members, are committed to the vigorous
                  prosecution of this case and have retained competent counsel who
                  are experienced in conducting litigation of this nature.
                  Representative Plaintiff is not subject to any individual defenses
                  unique from those conceivably applicable to other Class Members
                  or the classes in their entirety. Representative Plaintiff anticipates
                  no management difficulties in this litigation.
            e.    Superiority of Class Action: The damages suffered by individual
                  Class Members are significant but may be small relative to each
                  member's enormous expense of individual litigation. This makes or
                  may make it impractical for members of the Plaintiff Class to seek
                  redress individually for the wrongful conduct alleged herein. Even
                  if Class Members could afford such individual litigation, the court
                  system could not. Should separate actions be brought or be required
                  to be brought by each individual member of the Plaintiff Class, the
                  resulting multiplicity of lawsuits would cause undue hardship and
                  expense for the Court and the litigants. The prosecution of separate
                  actions would also create a risk of inconsistent rulings which might

                                            8
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 9 of 43 Page ID #:9



                        be dispositive of the interests of other Class Members who are not
                        parties to the adjudications and/or may substantially impede their
                        ability to protect their interests adequately. Individualized litigation
                        increases the delay and expense to all parties and to the court system,
                        presented by the case's complex legal and factual issues. By contrast,
                        the class action device presents far fewer management difficulties
                        and provides the benefits of single adjudication, economy of scale
                        and comprehensive supervision by a single court.

        35.     Class certification is proper because the questions raised by this Complaint are of

 common or general interest affecting numerous persons, so it is impracticable to bring all Class

 Members before the Court.

        36.     This class action is also appropriate for certification because Defendant has acted

 or refused to act on grounds generally applicable to Class Members, thereby requiring the Court’s

 imposition of uniform relief to ensure compatible standards of conduct toward the Class Members

 and making final injunctive relief appropriate concerning the Classes in their entireties.

 Defendant’s policies and practices challenged herein apply to and affect Class Members uniformly.

 Representative Plaintiff’s challenge of these policies and procedures hinges on Defendant’s

 conduct concerning the Classes in their entirety, not on facts or law applicable only to

 Representative Plaintiff.

        37.     Unless a Class-wide injunction is issued, Defendant may continue failing to secure

 Class Members’ PII properly, and Defendant may continue to act unlawfully, as set forth in this

 Complaint.

        38.     Further, Defendant has acted or refused to act on grounds generally applicable to

 the Classes and, accordingly, final injunctive or corresponding declaratory relief with regard to the

 Class Members as a whole is appropriate under F.R.C.P. Rule 23(b)(2).

        ///

        ///



                                                   9
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 10 of 43 Page ID #:10




                              COMMON FACTUAL ALLEGATIONS
  The Data Breach

         39.     During the Data Breach, one or more unauthorized third parties accessed Class

  Members’ sensitive data including, but not limited to full names and social security numbers.

  Representative Plaintiff was among the individuals whose data was accessed in the Data Breach.

         40.     According to Defendant, “an unauthorized third party exploited a vulnerability

  associated with MOVEit and exfiltrated certain data from an AutoZone system that supports the

  MOVEit application.” Exhibit A.

         41.     Representative Plaintiff was provided the information detailed above upon

  Representative Plaintiff’s receipt of a Defendant’s Notice. Representative Plaintiff was not aware

  of the Data Breach until receiving this letter.

         42.     Since Notice was not sent until November 21, 2023, an unauthorized actor had

  access to the PII an unknown amount of time without the account being secured or the Breach

  being discovered.

  Defendant’s Failed Response to the Data Breach

         43.     Not until roughly three months after it claims the Data Breach occurred did

  Defendant begin sending the Notice to persons whose PII Defendant confirmed was potentially

  compromised because of the Data Breach. The Notice provided basic details of the Data Breach

  and Defendant’s recommended next steps.

         44.     The Notice included, inter alia, the claims that Defendant had learned of the Data

  Breach and had taken steps to respond. But the Notice lacked sufficient information on how the

  breach occurred, when it occurred, what safeguards have been taken since then to safeguard further

  attacks, and/or where the information hacked exists today.



                                                    10
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 11 of 43 Page ID #:11




         45.     Upon information and belief, the unauthorized third-party cybercriminals gained

  access to Representative Plaintiff’s and Class Members’ PII with the intent of misusing the PII,

  including marketing and selling Representative Plaintiff’s and Class Members’ PII.

         46.     Defendant had and continues to have obligations created by applicable federal and

  state law as set forth herein, reasonable industry standards, common law, and its own assurances

  and representations to keep Representative Plaintiff’s and Class Members’ PII confidential and to

  protect such PII from unauthorized access.

         47.     Representative Plaintiff and Class Members were required to provide their PII to

  Defendant as part of their employment, and as part of their employment, Defendant created,

  collected, and stored Representative Plaintiff’s and Class Members’ PII with the reasonable

  expectation and mutual understanding that Defendant would comply with its obligations to keep

  such information confidential and secure from unauthorized access.

         48.     Despite this, even today, Representative Plaintiff and Class Members remain in the

  dark regarding what data was stolen, the particular malware used, and what steps are being taken

  to secure their PII in the future. Thus, Representative Plaintiff and Class Members are left to

  speculate as to where their PII ended up, who has used it, and for what potentially nefarious

  purposes. Indeed, they are left to further speculate as to the full impact of the Data Breach and how

  Defendant intends to enhance its information security systems and monitoring capabilities to

  prevent further breaches.

         49.     Representative Plaintiff’s and Class Members’ PII may end up for sale on the dark

  web or fall into the hands of companies that will use the detailed PII for targeted marketing without

  Representative Plaintiff’s and/or Class Members’ approval. Either way, unauthorized individuals

  can now easily access Representative Plaintiff’s and Class Members’ PII.



                                                   11
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 12 of 43 Page ID #:12




  Defendant Collected/Stored Representative Plaintiff’s and Class Members’ PII

         50.     Defendant acquired, collected, stored, and assured reasonable security over

  Representative Plaintiff’s and Class Members’ PII.

         51.     As a condition of its relationships with Representative Plaintiff and Class Members,

  Defendant required that Representative Plaintiff and Class Members entrust Defendant with highly

  sensitive and confidential PII. Defendant, in turn, stored that information on Defendant’s system

  that was ultimately affected by the Data Breach.

         52.     By obtaining, collecting, and storing Representative Plaintiff’s and Class Members’

  PII, Defendant assumed legal and equitable duties over the PII and knew or should have known

  that it was thereafter responsible for protecting Representative Plaintiff’s and Class Members’ PII

  from unauthorized disclosure.

         53.     Representative Plaintiff and Class Members have taken reasonable steps to

  maintain their PII’s confidentiality. Representative Plaintiff and Class Members relied on

  Defendant to keep their PII confidential and securely maintained, to use this information for

  business and healthcare purposes only, and to make only authorized disclosures of this

  information.

         54.     Defendant could have prevented the Data Breach, by properly securing and

  encrypting and/or more securely encrypting its servers, generally, as well as Representative

  Plaintiff’s and Class Members’ PII.

         55.     Defendant’s negligence in safeguarding Representative Plaintiff’s and Class

  Members’ PII is exacerbated by repeated warnings and alerts directed at protecting and securing

  sensitive data, as evidenced by the trending data breach attacks in recent years.




                                                  12
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 13 of 43 Page ID #:13




         56.     Data breaches such as the one experienced by Defendant have become so notorious

  that the Federal Bureau of Investigation (“FBI”) and the U.S. Secret Service have issued a warning

  to potential targets so they are aware of, can prepare for, and hopefully ward off a potential attack.

         57.     Due to the high-profile nature of these breaches and other breaches of its kind,

  Defendant was and/or certainly should have been on notice and aware of such attacks occurring in

  the healthcare industry and, therefore, should have assumed and adequately performed the duty of

  preparing for such an imminent attack.

         58.     And yet, despite the prevalence of public announcements of data breaches and data

  security compromises, Defendant failed to take appropriate steps to protect Representative

  Plaintiff’s and Class Members’ PII from being compromised.

  Defendant Had a Duty to Protect the Stolen Information

         59.     In failing to adequately secure Representative Plaintiff’s and Class Members’

  sensitive data, Defendant breached duties it owed Representative Plaintiff and Class Members

  under statutory and common law. Moreover, Representative Plaintiff and Class Members

  surrendered their highly sensitive personal data to Defendant under the implied condition that

  Defendant would keep it private and secure. Accordingly, Defendant also had an implied duty to

  safeguard their data, independent of any statute.

         60.     Defendant was also prohibited by the Federal Trade Commission Act (the “FTC

  Act”) (15 U.S.C. § 45) from engaging in “unfair or deceptive acts or practices in or affecting

  commerce.” The Federal Trade Commission (the “FTC”) has concluded that a company’s failure

  to maintain reasonable and appropriate data security for consumers’ sensitive personal information

  is an “unfair practice” in violation of the FTC Act. See, e.g., FTC v. Wyndham Worldwide Corp.,

  799 F.3d 236 (3d Cir. 2015).



                                                   13
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 14 of 43 Page ID #:14




         61.     According to the FTC, the need for data security should be factored into all business

  decision-making. To that end, the FTC has issued numerous guidelines identifying best data

  security practices that businesses, such as Defendant, should employ to protect against the

  unlawful exposure of PII.

         62.     In 2016, the FTC updated its publication, Protecting Personal Information: A

  Guide for Business, which established guidelines for fundamental data security principles and

  practices for business. The guidelines explain that companies should:

                 a.     protect the sensitive consumer information that they keep;

                 b.     properly dispose of PII that is no longer needed;

                 c.     encrypt information stored on computer networks;

                 d.     understand their network’s vulnerabilities; and

                 e.     implement policies to correct security problems.

         63.     The guidelines also recommend that businesses watch for large amounts of data

  being transmitted from the system and have a response plan ready in the event of a breach.

         64.     The FTC recommends that companies not maintain information longer than is

  necessary for authorization of a transaction, limit access to sensitive data, require complex

  passwords to be used on networks, use industry-tested methods for security, monitor for suspicious

  activity on the network and verify that third-party service providers have implemented reasonable

  security measures.

         65.     The FTC has brought enforcement actions against businesses for failing to protect

  consumer data adequately and reasonably, treating the failure to employ reasonable and

  appropriate measures to protect against unauthorized access to confidential consumer data as an

  unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act (“FTCA”), 15



                                                  14
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 15 of 43 Page ID #:15




  U.S.C. § 45. Orders resulting from these actions further clarify the measures businesses must take

  to meet their data security obligations.

         66.     Defendant’s failure to employ reasonable and appropriate measures to protect

  against unauthorized access to consumers’ PII constitutes an unfair act or practice prohibited by

  Section 5 of the FTCA, 15 U.S.C. § 45.

         67.     In addition to its obligations under federal and state laws, Defendant owed a duty

  to Representative Plaintiff and Class Members to exercise reasonable care in obtaining, retaining,

  securing, safeguarding, deleting, and protecting the PII in Defendant’s possession from being

  compromised, lost, stolen, accessed, and misused by unauthorized persons. Defendant owed a duty

  to Representative Plaintiff and Class Members to provide reasonable security, including

  consistency with industry standards and requirements, and to ensure that its computer systems,

  networks, and protocols adequately protected Representative Plaintiff’s and Class Members’ PII.

         68.     Defendant owed a duty to Representative Plaintiff and Class Members to design,

  maintain, and test its computer systems, servers, and networks to ensure that all PII in its

  possession was adequately secured and protected.

         69.     Defendant owed a duty to Representative Plaintiff and Class Members to create and

  implement reasonable data security practices and procedures to protect all PII in its possession,

  including not sharing information with other entities who maintain sub-standard data security

  systems.

         70.     Defendant owed a duty to Representative Plaintiff and Class Members to

  implement processes that would immediately detect a breach of its data security systems in a timely

  manner.




                                                  15
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 16 of 43 Page ID #:16




         71.      Defendant owed a duty to Representative Plaintiff and Class Members to act upon

  data security warnings and alerts in a timely fashion.

         72.      Defendant owed a duty to Representative Plaintiff and Class Members to disclose

  if its computer systems and data security practices were inadequate to safeguard individuals’ PII

  from theft, because such an inadequacy would be a material fact in the decision to entrust this PII

  to Defendant.

         73.      Defendant owed a duty of care to Representative Plaintiff and Class Members

  because they were foreseeable and probable victims of any inadequate data security practices.

         74.      Defendant owed a duty to Representative Plaintiff and Class Members to encrypt

  and/or more reliably encrypt Representative Plaintiff’s and Class Members’ PII and monitor user

  behavior and activity to identify possible threats.

  The Sensitive Information Stolen in the Data Breach is Highly Valuable

         75.      It is well known that PII, including Social Security numbers and health records in

  particular, is a valuable commodity and a frequent, intentional target of cybercriminals. Companies

  that collect such information, including Defendant, are well aware of the risk of being targeted by

  cybercriminals.

         76.      Individuals place a high value not only on their PII but also on the privacy of that

  data. Identity theft causes severe negative consequences to its victims, as well as severe distress

  and hours of lost time trying to fight the impact of identity theft.

         77.      While the greater efficiency of electronic health records translates to cost savings

  for providers, it also comes with the risk of privacy breaches. PII is a valuable commodity for

  which a “cyber black market” exists where criminals openly post stolen Social Security numbers

  and other personal information on several underground internet websites. Unsurprisingly, the



                                                    16
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 17 of 43 Page ID #:17




  healthcare industry is at high risk and is acutely affected by cyberattacks, like the Data Breach

  here.

          78.    The high value of PII to criminals is evidenced by the prices they will pay for it

  through the dark web. For example, personal information can be sold at a price ranging from $40

  to $200, and bank details have a price range of $50 to $200. 3 Experian reports that a stolen credit

  or debit card number can sell for $5 to $110 on the dark web. 4 Criminals can also purchase access

  to entire company data breaches from $999 to $4,995. 5

          79.    Between 2005 and 2019, at least 249 million people were affected by healthcare

  data breaches. 6 Indeed, during 2019 alone, over 41 million healthcare records were exposed,

  stolen, or unlawfully disclosed in 505 data breaches. 7 In short, these sorts of data breaches are

  increasingly common, especially among healthcare systems, which account for 30.03 percent of

  overall health data breaches, according to cybersecurity firm Tenable. 8

          80.    These criminal activities have and will result in devastating financial and personal

  losses to Representative Plaintiff and Class Members. For example, it is believed that certain PII

  compromised in the 2017 Experian data breach was being used three years later by identity thieves

  to apply for COVID-19-related benefits in Oklahoma. Such fraud will be an omnipresent threat




  3
      Your personal data is for sale on the dark web. Here’s how much it costs, Digital Trends, Oct.
  16, 2019, available at: https://www.digitaltrends.com/computing/personal-data-sold-on-the-
  dark-web-how-much-it-costs/ (last accessed July 24, 2023).
  4
      Here’s How Much Your Personal Information Is Selling for on the Dark Web, Experian, Dec.
  6, 2017, available at: https://www.experian.com/blogs/ask-experian/heres-how-much-your-
  personal-information-is-selling-for-on-the-dark-web/ (last accessed July 24, 2023).
  5
      In the Dark, VPNOverview, 2019, available at:
  https://vpnoverview.com/privacy/anonymous-browsing/in-the-dark/ (last accessed July 24, 2023).
  6
      https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7349636/#B5-healthcare-08-00133/ (last
  accessed July 24, 2023).
  7
      https://www.hipaajournal.com/december-2019-healthcare-data-breach-report/ (last accessed
  July 24, 2023).
  8
      https://www.tenable.com/blog/healthcare-security-ransomware-plays-a-prominent-role-in-
  covid-19-era-breaches/ (last accessed July 24, 2023).
                                                  17
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 18 of 43 Page ID #:18




  for Representative Plaintiff and Class Members for the rest of their lives. They will need to remain

  constantly vigilant.

         81.     The FTC defines identity theft as “a fraud committed or attempted using the

  identifying information of another person without authority.” The FTC describes “identifying

  information” as “any name or number that may be used, alone or in conjunction with any other

  information, to identify a specific person,” including, among other things, “[n]ame, Social Security

  number, date of birth, official State or government-issued driver’s license or identification number,

  alien registration number, government passport number, employer or taxpayer identification

  number.”

         82.     Identity thieves can use PII, such as that of Representative Plaintiff and Class

  Members which Defendant failed to keep secure, to perpetrate various crimes that harm victims.

  For instance, identity thieves may commit various types of government fraud such as immigration

  fraud, obtaining a driver’s license or identification card in the victim’s name but with another’s

  picture, using the victim’s information to obtain government benefits, or filing a fraudulent tax

  return using the victim’s information to obtain a fraudulent refund.

         83.     The ramifications of Defendant’s failure to secure Representative Plaintiff’s and

  Class Members’ PII are long-lasting and severe. Once PII is stolen, particularly identification

  numbers, fraudulent use of that information and damage to victims may continue for years. Indeed,

  the PII of Representative Plaintiff and Class Members was taken by hackers to engage in identity

  theft or to sell it to other criminals who will purchase the PII for that purpose. The fraudulent

  activity resulting from the Data Breach may not come to light for years.




                                                   18
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 19 of 43 Page ID #:19




         84.     Individuals, like Representative Plaintiff and Class Members, are particularly

  concerned with protecting the privacy of their Social Security numbers, which are the key to

  stealing any person’s identity and are likened to accessing DNA for hacker’s purposes.

         85.     Data breach victims suffer long-term consequences when their Social Security

  numbers are taken and used by hackers. Even if they know their Social Security numbers are being

  misused, Representative Plaintiff and Class Members cannot obtain new numbers unless they

  become victims of Social Security misuse.

         86.     The Social Security Administration has warned that “a new number probably won’t

  solve all your problems. This is because other governmental agencies (such as the IRS and state

  motor vehicle agencies) and private businesses (such as banks and credit reporting companies) will

  have records under your old number. Along with other personal information, credit reporting

  companies use the number to identify your credit record. So, using a new number won’t guarantee

  you a fresh start. This is especially true if your other personal information, such as your name and

  address, remains the same.” 9

         87.     There may be a time lag between when harm occurs versus when it is discovered,

  and also between when PII is stolen and when it is used. According to the U.S. Government

  Accountability Office (“GAO”), which conducted a study regarding data breaches:

         [L]aw enforcement officials told us that in some cases, stolen data may be held for
         up to a year or more before being used to commit identity theft. Further, once stolen
         data have been sold or posted on the Web, fraudulent use of that information may
         continue for years. As a result, studies that attempt to measure the harm resulting
         from data breaches cannot necessarily rule out all future harm. 10




  9
      Identity Theft and Your Social Security Number, SSA, No. 05-10064 (July 2021),
  https://www.ssa.gov/pubs/EN-05-10064.pdf (last visited Apr. 18, 2023).
  10
      Report to Congressional Requesters, GAO, at 29 (June 2007), available at:
  http://www.gao.gov/new.items/d07737.pdf (last accessed July 24, 2023).
                                                  19
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 20 of 43 Page ID #:20




          88.        The harm to Representative Plaintiff and Class Members is especially acute given

  the nature of the leaked data. Medical identity theft is one of the most common, most expensive,

  and most difficult-to-prevent forms of identity theft. According to Kaiser Health News, “medical-

  related identity theft accounted for 43 percent of all identity thefts reported in the United States in

  2013,” more than identity thefts involving banking and finance, the government, and the military

  or education. 11

          89.        “Medical identity theft is a growing and dangerous crime that leaves its victims

  with little to no recourse for recovery,” reported Pam Dixon, executive director of World Privacy

  Forum. “Victims often experience financial repercussions and worse yet, they frequently discover

  erroneous information has been added to their personal medical files due to the thief’s activities.”12

          90.        When cybercriminals access financial information, health insurance information,

  and other personally sensitive data—as they did here—there is no limit to the amount of fraud to

  which Defendant may have exposed Representative Plaintiff and Class Members.

          91.        A study by Experian found that the average cost of medical identity theft is “about

  $20,000” per incident and that most victims of medical identity theft were forced to pay out-of-

  pocket costs for healthcare they did not receive to restore coverage. 13 Almost half of medical

  identity theft victims lose their healthcare coverage as a result of the incident, while nearly one-

  third of medical identity theft victims saw their insurance premiums rise, and 40 percent were

  never able to resolve their identity theft at all. 14


  11
     Michael Ollove, “The Rise of Medical Identity Theft in Healthcare,” Kaiser Health News,
  Feb. 7, 2014, https://khn.org/news/rise-of-indentity-theft/ (last accessed July 24, 2023).
  12
     Id.
  13
     See Elinor Mills, “Study: Medical Identity Theft is Costly for Victims,” CNET (Mar, 3,
  2010), https://www.cnet.com/news/study-medical-identity-theft-is-costly-for-victims/ (last
  accessed July 24, 2023).
  14
     Id.; see also Healthcare Data Breach: What to Know About them and What to Do After One,
  EXPERIAN, https://www.experian.com/blogs/ask-experian/healthcare-data-breach-what-to-
  know-about-them-and-what-to-do-after-one/ (last accessed July 24, 2023).
                                                          20
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 21 of 43 Page ID #:21




         92.     And data breaches are preventable. 15 As Lucy Thompson wrote in the DATA

  BREACH AND ENCRYPTION HANDBOOK, “[i]n almost all cases, the data breaches that occurred could

  have been prevented by proper planning and the correct design and implementation of appropriate

  security solutions.” 16 She added that “[o]rganizations that collect, use, store, and share sensitive

  personal data must accept responsibility for protecting the information and ensuring that it is not

  compromised….” 17

         93.     Most of the reported data breaches are a result of lax security and the failure to

  create or enforce appropriate security policies, rules, and procedures. Appropriate information

  security controls, including encryption, must be implemented and enforced rigorously and

  disciplined so that a data breach never occurs. 18

         94.     Here, Defendant knew of the importance of safeguarding PII and of the foreseeable

  consequences that would occur if Representative Plaintiff’s and Class Members’ PII was stolen,

  including the significant costs that would be placed on Representative Plaintiff and Class Members

  because of a breach of this magnitude. As detailed above, Defendant knew or should have known

  that the development and use of such protocols was necessary to fulfill its statutory and common

  law duties to Representative Plaintiff and Class Members. Therefore, its failure to do so is

  intentional, willful, reckless, and/or grossly negligent.

         95.     Moreover, Defendant’ advice to Representative Plaintiff and Class Members

  squarely place the burden on Representative Plaintiff and Class Members, rather than on

  Defendant, to monitor and report suspicious activities to law enforcement. In other words,



  15
     Lucy L. Thompson, “Despite the Alarming Trends, Data Breaches Are Preventable,” in
  DATA BREACH AND ENCRYPTION HANDBOOK (Lucy Thompson, ed., 2012)
  16
     Id. at 17.
  17
     Id. at 28.
  18
     Id.

                                                    21
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 22 of 43 Page ID #:22




  Defendant expects Representative Plaintiff and Class Members to protect themselves from its

  tortious acts resulting from the Data Breach. Rather than automatically enrolling Representative

  Plaintiff and Class Members in credit monitoring services upon discovery of the Data Breach,

  Defendant merely sent instructions to Representative Plaintiff and Class Members about actions

  they could affirmatively take to protect themselves.

         96.     These services are wholly inadequate as they fail to provide for the fact that victims

  of data breaches and other unauthorized disclosures commonly face multiple years of ongoing

  identity theft and financial fraud, and they entirely fail to provide any compensation for the

  unauthorized release and disclosure of Representative Plaintiff’s and Class Members’ PII.

         97.     Defendant disregarded the rights of Representative Plaintiff and Class Members by,

  inter alia: (i) intentionally, willfully, recklessly and/or negligently failing to take adequate and

  reasonable measures to ensure that its network servers were protected against unauthorized

  intrusions, (ii) failing to disclose that it did not have adequate security protocols and training

  practices in place to safeguard Representative Plaintiff’s and Class Members’ PII, (iii) failing to

  take standard and reasonably available steps to prevent the Data Breach, (iv) concealing the

  existence and extent of the Data Breach for an unreasonable duration of time, and (v) failing to

  provide Representative Plaintiff and Class Members prompt and accurate notice of the Data

  Breach.

                                       CAUSES OF ACTION
                                          COUNT ONE
                                            Negligence
                                (On behalf of the Nationwide Class)

         98.     Each and every allegation of the preceding paragraphs is incorporated in this Count

  with the same force and effect as though fully set forth herein.




                                                  22
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 23 of 43 Page ID #:23




         99.      At all times herein relevant, Defendant owed Representative Plaintiff and Class

  Members a duty of care, inter alia, to act with reasonable care to secure and safeguard their PII

  and to use commercially reasonable methods to do so. Defendant took on this obligation upon

  accepting and storing Representative Plaintiff’s and Class Members’ PII on its computer systems

  and networks.

         100.     Among these duties, Defendant was expected:

                  a.     to exercise reasonable care in obtaining, retaining, securing, safeguarding,
                         deleting and protecting the PII in its possession;
                  b.     to protect Representative Plaintiff’s and Class Members’ PII using
                         reasonable and adequate security procedures and systems that were/are
                         compliant with industry-standard practices;
                  c.     to implement processes to detect the Data Breach quickly and to act on
                         warnings about data breaches timely; and
                  d.     to promptly notify Representative Plaintiff and Class Members of any data
                         breach, security incident or intrusion that affected or may have affected their
                         PII.

         101.     Defendant knew or should have known that the PII was private and confidential

  and should be protected as private and confidential and, thus, Defendant owed a duty of care to

  not subject Representative Plaintiff and Class Members to an unreasonable risk of harm because

  they were foreseeable and probable victims of any inadequate security practices.

         102.     Defendant knew or should have known of the risks inherent in collecting and

  storing PII, the vulnerabilities of its data security systems and the importance of adequate security.

  Defendant knew or should have known about numerous well-publicized data breaches.

         103.     Defendant knew or should have known that its data systems and networks did not

  adequately safeguard Representative Plaintiff’s and Class Members’ PII.

         104.     Only Defendant was in the position to ensure that its systems and protocols were

  sufficient to protect the PII that Representative Plaintiff and Class Members had entrusted to it.



                                                   23
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 24 of 43 Page ID #:24




         105.    Defendant breached its duties to Representative Plaintiff and Class Members by

  failing to provide fair, reasonable, or adequate computer systems and data security practices to

  safeguard their PII.

         106.    Because Defendant knew that a breach of its systems could damage numerous

  individuals, including Representative Plaintiff and Class Members, Defendant had a duty to

  adequately protect its data systems and the PII stored thereon.

         107.    Representative Plaintiff’s and Class Members’ willingness to entrust Defendant

  with their PII was predicated on the understanding that Defendant would take adequate security

  precautions. Moreover, only Defendant could protect its systems and the PII it stored on them from

  attack. Thus, Defendant had a special relationship with Representative Plaintiff and Class

  Members.

         108.    Defendant also had independent duties under state and federal laws that required

  Defendant to reasonably safeguard Representative Plaintiff’s and Class Members’ PII and

  promptly notify them about the Data Breach. These “independent duties” are untethered to any

  contract between Defendant, Representative Plaintiffs, and/or the remaining Class Members.

         109.    Defendant breached its general duty of care to Representative Plaintiff and Class

  Members in, but not necessarily limited to, the following ways:

                 a.      by failing to provide fair, reasonable and/or adequate computer systems and
                         data security practices to safeguard Representative Plaintiff’s and Class
                         Members’ PII;
                 b.      by failing to timely and accurately disclose that Representative Plaintiff’s
                         and Class Members’ PII had been improperly acquired or accessed;
                 c.      by failing to adequately protect and safeguard PII by knowingly
                         disregarding standard information security principles, despite obvious risks
                         and by allowing unmonitored and unrestricted access to unsecured PII;
                 d.      by failing to provide adequate supervision and oversight of the PII with
                         which it was and is entrusted, in spite of the known risk and foreseeable
                         likelihood of breach and misuse, which permitted an unknown third party


                                                  24
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 25 of 43 Page ID #:25



                         to gather Representative Plaintiff’s and Class Members’ PII, misuse the PII
                         and intentionally disclose it to others without consent;
                 e.      by failing to adequately train its employees not to store ger than absolutely
                         necessary;
                 f.      by failing to consistently enforce security policies aimed at protecting
                         Representative Plaintiff’s and Class Members’ PII;
                 g.      by failing to implement processes to quickly detect data breaches, security
                         incidents or intrusions; and
                 h.      by failing to encrypt Representative Plaintiff’s and Class Members’ PII and
                         monitor user behavior and activity in order to identify possible threats.

         110.    Defendant’s willful failure to abide by these duties was wrongful, reckless and/or

  grossly negligent in light of the foreseeable risks and known threats.

         111.    As a proximate and foreseeable result of Defendant’s grossly negligent conduct,

  Representative Plaintiff and Class Members have suffered damages and are at imminent risk of

  additional harm and damages (as alleged above).

         112.    The law further imposes an affirmative duty on Defendant to timely disclose the

  unauthorized access and theft of the PII to Representative Plaintiff and Class Members so that they

  could and/or still can take appropriate measures to mitigate damages, protect against adverse

  consequences, and thwart future misuse of their PII.

         113.    Defendant breached its duty to notify Representative Plaintiff and Class Members

  of the unauthorized access by failing and continuing to fail to provide Representative Plaintiff and

  Class Members sufficient information regarding the breach. To date, Defendant has not provided

  sufficient information to Representative Plaintiff and Class Members regarding the extent of the

  unauthorized access and continues to breach its disclosure obligations to Representative Plaintiff

  and Class Members.

         114.    Further, explicitly failing to provide timely and clear notification of the Data Breach

  to Representative Plaintiff and Class Members, Defendant prevented Representative Plaintiff and


                                                   25
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 26 of 43 Page ID #:26




  Class Members from taking meaningful, proactive steps to secure their PII and access their medical

  records and histories.

         115.    There is a close causal connection between Defendant’s failure to implement

  security measures to protect Representative Plaintiff’s and Class Members’ PII and the harm (or

  risk of imminent harm suffered) by Representative Plaintiff and Class Members. Representative

  Plaintiff’s and Class Members’ PII was accessed as the proximate result of Defendant’s failure to

  exercise reasonable care in safeguarding such PII by adopting, implementing and maintaining

  appropriate security measures.

         116.    Defendant’s wrongful actions, inactions, and omissions constituted (and continue

  to constitute) common law negligence.

         117.    The damages Representative Plaintiff and Class Members have suffered (as alleged

  above) and will continue to suffer were and are the direct and proximate result of Defendant’s

  grossly negligent conduct.

         118.    Additionally, 15 U.S.C. § 45 (FTC Act, Section 5) prohibits “unfair […] practices

  in or affecting commerce,” including, as interpreted and enforced by the FTC, the unfair act or

  practice by businesses, such as Defendant, of failing to use reasonable measures to protect PII. The

  FTC publications and orders described above also form part of the basis of Defendant’s duty in

  this regard.

         119.    Defendant violated 15 U.S.C. § 45 by failing to use reasonable measures to protect

  PII and by not complying with applicable industry standards, as described in detail herein.

  Defendant’s conduct was particularly unreasonable given the nature and amount of PII it obtained

  and stored and the foreseeable consequences of the immense damages that would result to

  Representative Plaintiff and Class Members.



                                                  26
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 27 of 43 Page ID #:27




         120.    Defendant’s violation of 15 U.S.C. § 45 constitutes negligence per se.

         121.    As a direct and proximate result of Defendant’s negligence and negligence per se,

  Representative Plaintiff and Class Members have suffered and will continue to suffer injury,

  including but not limited to: (i) actual identity theft, (ii) the loss of the opportunity of how their

  PII is used, (iii) the compromise, publication, and/or theft of their PII, (iv) out-of-pocket expenses

  associated with the prevention, detection and recovery from identity theft, tax fraud, and/or

  unauthorized use of their PII, (v) lost opportunity costs associated with effort expended and the

  loss of productivity addressing and attempting to mitigate the actual and future consequences of

  the Data Breach, including but not limited to efforts spent researching how to prevent, detect,

  contest, and recover from embarrassment and identity theft, (vi) lost continuity in relation to their

  healthcare, (vii) the continued risk to their PII, which may remain in Defendant’s possession and

  is subject to further unauthorized disclosures so long as Defendant fails to undertake appropriate

  and adequate measures to protect Representative Plaintiff’s and Class Members’ PII in its

  continued possession, and (viii) future costs in terms of time, effort, and money that will be

  expended to prevent, detect, contest, and repair the impact of the PII compromised as a result of

  the Data Breach for the remainder of the lives of Representative Plaintiff and Class Members.

         122.    As a direct and proximate result of Defendant’s negligence and negligence per se,

  Representative Plaintiff and Class Members have suffered and will continue to suffer other forms

  of injury and/or harm, including but not limited to anxiety, emotional distress, loss of privacy, and

  other economic and non-economic losses.

         123.    Additionally, as a direct and proximate result of Defendant’s negligence and

  negligence per se, Representative Plaintiff and Class Members have suffered and will continue to

  suffer the continued risks of exposure of their PII, which remains in Defendant’s possession and



                                                   27
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 28 of 43 Page ID #:28




  is subject to further unauthorized disclosures so long as Defendant fails to undertake appropriate

  and adequate measures to protect PII in its continued possession.

                                          COUNT TWO
                                        Negligence Per Se
                                (On behalf of the Nationwide Class)

         124.    Each and every allegation of the preceding paragraphs is incorporated in this Count

  with the same force and effect as though fully set forth herein.

         125.    Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45 prohibits

  companies such as Defendant from “using any unfair method of competition or unfair or deceptive

  act or practice in or affecting commerce,” including failing to use reasonable measures to protect

  PII. In addition to the FTC Act, the agency also enforces other federal laws relating to consumers’

  privacy and security. The FTC publications and orders described above also form part of the basis

  of Defendant’s duty in this regard.

         126.    In addition to the FTC rules and regulations and state law, other states and

  jurisdictions where victims of the Data Breach are located require that Defendant protect PII from

  unauthorized access and disclosure and timely notify the victim of a data breach.

         127.    Defendant violated FTC rules and regulations obligating companies to use

  reasonable measures to protect PII by failing to comply with applicable industry standards and by

  unduly delaying reasonable notice of the actual breach. Defendant’s conduct was particularly

  unreasonable given the nature and amount of PII it obtained and stored and the foreseeable

  consequences of a Data Breach and the exposure of Representative Plaintiff’s and Class members’

  highly sensitive PII.

         128.    Each of Defendant’s statutory violations of Section 5 of the FTC Act and other

  applicable statutes, rules and regulations, constitute negligence per se.



                                                   28
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 29 of 43 Page ID #:29




         129.    Representative Plaintiff and Class Members are within the category of persons the

  FTC Act were intended to protect.

         130.    The harm that occurred because of the Data Breach described herein is the type of

  harm the FTC Act was intended to guard against.

         131.    As a direct and proximate result of Defendant’s negligence per se, Representative

  Plaintiff and Class Members have been damaged as described herein, continue to suffer injuries as

  detailed above, are subject to the continued risk of exposure of their PII in Defendant’s possession

  and are entitled to damages in an amount to be proven at trial.


                                        COUNT THREE
                                      Breach of Confidence
                                (On behalf of the Nationwide Class)

         132.    Each and every allegation of the preceding paragraphs is incorporated in this Count

  with the same force and effect as though fully set forth herein.

         133.    During Representative Plaintiff’s and Class Members’ interactions with Defendant,

  Defendant was fully aware of the confidential nature of the PII that Representative Plaintiff and

  Class Members provided to it.

         134.    As alleged herein and above, Defendant’s relationship with Representative Plaintiff

  and Class Members was governed by promises and expectations that Representative Plaintiff and

  Class Members’ PII would be collected, stored, and protected in confidence, and would not be

  accessed by, acquired by, appropriated by, disclosed to, encumbered by, exfiltrated by, released

  to, stolen by, used by, and/or viewed by unauthorized third parties.

         135.    Representative Plaintiff and Class Members provided their respective PII to

  Defendant with the explicit and implicit understandings that Defendant would protect and not




                                                  29
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 30 of 43 Page ID #:30




  permit the PII to be accessed by, acquired by, appropriated by, disclosed to, encumbered by,

  exfiltrated by, released to, stolen by, used by, and/or viewed by unauthorized third parties.

         136.    Representative Plaintiff and Class Members also provided their PII to Defendant

  with the explicit and implicit understanding that Defendant would take precautions to protect their

  PII from unauthorized access, acquisition, appropriation, disclosure, encumbrance, exfiltration,

  release, theft, use, and/or viewing, such as following basic principles of protecting its networks

  and data systems.

         137.    Defendant voluntarily received, in confidence, Representative Plaintiff’s and Class

  Members’ PII with the understanding that the PII would not be accessed by, acquired by,

  appropriated by, disclosed to, encumbered by, exfiltrated by, released to, stolen by, used by, and/or

  viewed by the public or any unauthorized third parties.

         138.    Due to Defendant’s failure to prevent, detect and avoid the Data Breach from

  occurring by, inter alia, not following best information security practices to secure Representative

  Plaintiff’s and Class Members’ PII, Representative Plaintiff’s and Class Members’ PII was

  accessed by, acquired by, appropriated by, disclosed to, encumbered by, exfiltrated by, released

  to, stolen by, used by, and/or viewed by unauthorized third parties beyond Representative

  Plaintiff’s and Class Members’ confidence and without their express permission.

         139.    As a direct and proximate cause of Defendant’s actions and/or omissions,

  Representative Plaintiff and Class Members have suffered damages, as alleged herein.

         140.    But for Defendant’s failure to maintain and protect Representative Plaintiff’s and

  Class Members’ PII in violation of the parties’ understanding of confidence, their PII would not

  have been accessed by, acquired by, appropriated by, disclosed to, encumbered by, exfiltrated by,

  released to, stolen by, used by, and/or viewed by unauthorized third parties. The Data Breach was



                                                   30
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 31 of 43 Page ID #:31




  the direct and legal cause of the misuse of Representative Plaintiff’s and Class Members’ PII and

  the resulting damages.

         141.    The injury and harm Representative Plaintiff and Class Members suffered and will

  continue to suffer was the reasonably foreseeable result of Defendant’s unauthorized misuse of

  Representative Plaintiff’s and Class Members’ PII. Defendant knew its data systems and protocols

  for accepting and securing Representative Plaintiff’s and Class Members’ PII had security and

  other vulnerabilities that placed Representative Plaintiff’s and Class Members’ PII in jeopardy.

         142.    As a direct and proximate result of Defendant’s breaches of confidence,

  Representative Plaintiff and Class Members have suffered and will continue to suffer injury, as

  alleged herein, including but not limited to: (i) actual identity theft, (ii) the compromise,

  publication, and/or theft of their PII, (iii) out-of-pocket expenses associated with the prevention,

  detection and recovery from identity theft and/or unauthorized use of their PII, (iv) lost opportunity

  costs associated with effort expended and the loss of productivity addressing and attempting to

  mitigate the actual and future consequences of the Data Breach, including but not limited to efforts

  spent researching how to prevent, detect, contest, and recover from identity theft, (v) the continued

  risk to their PII, which remains in Defendant’s possession and is subject to further unauthorized

  disclosures so long as Defendant fails to undertake appropriate and adequate measures to protect

  Class Members’ PII in its continued possession, (vi) future costs in terms of time, effort, and

  money that will be expended as result of the Data Breach for the remainder of the lives of

  Representative Plaintiff and Class Members, (vii) the diminished value of Representative

  Plaintiff’s and Class Members’ PII, and (viii) the diminished value of Defendant’s services for

  which Representative Plaintiff and Class Members paid and received.




                                                   31
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 32 of 43 Page ID #:32



                                         COUNT FOUR
                                   Breach of Implied Contract
                                (On behalf of the Nationwide Class)

          143.    Each and every allegation of the preceding paragraphs is incorporated in this Count

  with the same force and effect as though fully set forth herein.

          144.    Through their course of conduct, Defendant, Representative Plaintiff and Class

  Members entered into implied contracts for Defendant to implement data security adequate to

  safeguard and protect the privacy of Representative Plaintiff’s and Class Members’ PII.

          145.    Defendant required Representative Plaintiff and Class Members to provide and

  entrust their PII as a condition of obtaining Defendant’s services.

          146.    Defendant solicited and invited Representative Plaintiff and Class Members to

  provide their PII as part of Defendant’s regular business practices. Representative Plaintiff and

  Class Members accepted Defendant’s offers and provided their PII to Defendant.

          147.    As a condition of being Defendant’s direct patients, Representative Plaintiff and

  Class Members provided and entrusted their PII to Defendant. In so doing, Representative Plaintiff

  and Class Members entered into implied contracts with Defendant by which Defendant agreed to

  safeguard and protect such non-public information, to keep such information secure and

  confidential and to timely and accurately notify Representative Plaintiff and Class Members if

  their data had been breached and compromised or stolen.

          148.    A meeting of the minds occurred when Representative Plaintiff and Class Members

  agreed to, and did, provide their PII to Defendant, in exchange for, amongst other things, the

  protection of their PII.

          149.    Representative Plaintiff and Class Members fully performed their obligations under

  the implied contracts with Defendant.



                                                  32
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 33 of 43 Page ID #:33




         150.    Defendant breached the implied contracts it made with Representative Plaintiff and

  Class Members by failing to safeguard and protect their PII and by failing to provide timely and

  accurate notice to them that their PII was compromised because of the Data Breach.

         As a direct and proximate result of Defendant’s above-described breach of implied

  contract, Representative Plaintiff and Class Members have suffered and will continue to suffer: (i)

  ongoing, imminent and impending threat of identity theft crimes, fraud, and abuse, resulting in

  monetary loss and economic harm, (ii) actual identity theft crimes, fraud, and abuse, resulting in

  monetary loss and economic harm, (iii) loss of the confidentiality of the stolen confidential data,

  (iv) the illegal sale of the compromised data on the dark web, (v) lost work time, and (vi) other

  economic and non-economic harm.

                                         COUNT FIVE
                Breach of the Implied Covenant of Good Faith and Fair Dealing
                               (On behalf of the Nationwide Class)

         151.    Each and every allegation of the preceding paragraphs is incorporated in this Count

  with the same force and effect as though fully set forth herein.

         152.    Every contract in this State (California) has an implied covenant of good faith

  and fair dealing. This implied covenant is an independent duty and may be breached even when

  there is no breach of a contract’s actual and/or express terms.

         153.    Representative Plaintiff and Class Members have complied with and performed all

  conditions of their contracts with Defendant.

         154.    Defendant breached the implied covenant of good faith and fair dealing by failing

  to maintain adequate computer systems and data security practices to safeguard PII, failing to

  timely and accurately disclose the Data Breach to Representative Plaintiff and Class Members,

  and continued acceptance of PII and storage of other personal information after Defendant knew



                                                  33
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 34 of 43 Page ID #:34




  or should have known of the security vulnerabilities of the systems that were exploited in the Data

  Breach.

         155.    Defendant acted in      bad faith and/or with malicious motive in denying

  Representative Plaintiff and Class Members the full benefit of their bargains as originally intended

  by the parties, thereby causing them injury in an amount to be determined at trial.

                                           COUNT SIX
                                    Breach of Fiduciary Duty
                                (On behalf of the Nationwide Class)
         156.    Each and every allegation of the preceding paragraphs is incorporated in this Count

  with the same force and effect as though fully set forth herein.

         157.    In light of the special relationship between Defendant and Representative Plaintiff

  and Class Members, whereby Defendant became the guardian of Representative Plaintiff’s and

  Class Members’ PII, Defendant became a fiduciary by its undertaking and guardianship of the PII

  to act primarily for Representative Plaintiff and Class Members, (i) for the safeguarding of

  Representative Plaintiff’s and Class Members’ PII, (ii) to timely notify Representative Plaintiff

  and Class Members of a data breach and disclosure, and (iii) to maintain complete and accurate

  records of what information (and where) Defendant did has and continues to store.

         158.    Defendant has a fiduciary duty to act for the benefit of Representative Plaintiff and

  Class Members upon matters within the scope of its relationship with its customers’ patients and

  former patients—in particular, to keep their PII secure.

         159.    Defendant breached its fiduciary duties to Representative Plaintiff and Class

  Members by failing to diligently discover, investigate, and give notice of the Data Breach in a

  reasonable and practicable period of time.




                                                  34
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 35 of 43 Page ID #:35




         160.    Defendant breached its fiduciary duties to Representative Plaintiff and Class

  Members by failing to encrypt and otherwise protect the integrity of the systems containing

  Representative Plaintiff’s and Class Members’ PII.

         161.    Defendant breached its fiduciary duties to Representative Plaintiff and Class

  Members by failing to timely notify and/or warn Representative Plaintiff and Class Members of

  the Data Breach.

         162.    Defendant breached its fiduciary duties to Representative Plaintiff and Class

  Members by otherwise failing to safeguard Representative Plaintiff’s and Class Members’ PII.

         163.    As a direct and proximate result of Defendant’s breaches of its fiduciary duties,

  Representative Plaintiff and Class Members have suffered and will continue to suffer injury,

  including but not limited to: (i) actual identity theft, (ii) the compromise, publication, and/or theft

  of their PII, (iii) out-of-pocket expenses associated with the prevention, detection, and recovery

  from identity theft and/or unauthorized use of their PII, (iv) lost opportunity costs associated with

  effort expended and the loss of productivity addressing and attempting to mitigate the actual and

  future consequences of the Data Breach, including but not limited to efforts spent researching how

  to prevent, contest, and recover from identity theft, (v) the continued risk to their PII, which

  remains in Defendant’s possession and is subject to further unauthorized disclosures so long as

  Defendant fails to undertake appropriate and adequate measures to protect the PII in its continued

  possession, (vi) future costs in terms of time, effort, and money that will be expended as result of

  the Data Breach for the remainder of the lives of Representative Plaintiff and Class Members, and

  (vii) the diminished value of Defendant’s services they received.




                                                    35
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 36 of 43 Page ID #:36




         164.    As a direct and proximate result of Defendant’s breach of its fiduciary duties,

  Representative Plaintiff and Class Members have suffered and will continue to suffer other forms

  of injury and/or harm, and other economic and non-economic losses.

                                         COUNT SEVEN
                                        Unjust Enrichment
                                 (On behalf of the Nationwide Class)

         165.    Each and every allegation of the preceding paragraphs is incorporated in this Count

  with the same force and effect as though fully set forth herein. This Count is pled in the alternative

  to the Breach of Contract Count above.

         166.    Upon information and belief, Defendant funds its data-security measures entirely

  from its general revenue, including payments made by or on behalf of Representative Plaintiff and

  Class Members.

         167.    As such, a portion of the payments made by or on behalf of Representative Plaintiff

  and Class Members is to be used to provide a reasonable level of data security, and the amount of

  each payment allocated to data security is known to Defendant.

         168.    Representative Plaintiff and Class Members conferred a monetary benefit to

  Defendant. Specifically, they purchased goods and services from Defendant and/or its agents and

  provided Defendant with their PII. In exchange, Representative Plaintiff and Class Members

  should have received from Defendant the goods and services that were the subject of the

  transaction and have their PII protected with adequate data security.

         169.    Defendant knew that Representative Plaintiff and Class Members conferred a

  benefit which Defendant accepted. Defendant profited from these transactions and used the PII of

  Representative Plaintiff and Class Members for business purposes.

         170.    Defendant enriched itself by saving the costs it reasonably should have expended

  in data-security measures to secure Representative Plaintiff’s and Class Members’ PII. Instead of

                                                   36
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 37 of 43 Page ID #:37




  providing a reasonable level of security that would have prevented the hacking incident, Defendant

  instead calculated to increase its own profits at the expense of Representative Plaintiff and Class

  Members by utilizing cheaper, ineffective security measures. On the other hand, Representative

  Plaintiff and Class Members suffered as a direct and proximate result of Defendant’s decision to

  prioritize its profits over the requisite security.

          171.    Under the principles of equity and good conscience, Defendant should not be

  permitted to retain the money belonging to Representative Plaintiff and Class Members, because

  Defendant failed to implement appropriate data management and security measures mandated by

  industry standards.

          172.    Defendant failed to secure Representative Plaintiff’s and Class Members’ PII and,

  therefore, did not provide full compensation for the benefit of Representative Plaintiff and Class

  Members.

          173.    Defendant acquired the PII through inequitable means in that it failed to disclose

  the inadequate security practices previously alleged.

          174.    If Representative Plaintiff and Class Members knew that Defendant had not

  reasonably secured their PII, they would not have agreed to provide their PII to Defendant.

          175.    Representative Plaintiff and Class Members have no remedy at law.

          176.    As a direct and proximate result of Defendant’s conduct, Representative Plaintiff

  and Class Members have suffered and will continue to suffer injury, including but not limited to:

  (i) actual identity theft, (ii) the loss of opportunity to determine how their PII is used, (iii) the

  compromise, publication, and/or theft of their PII, (iv) out-of-pocket expenses associated with the

  prevention, detection, and recovery from identity theft, and/or unauthorized use of their PII, (v)

  lost opportunity costs associated with efforts expended and the loss of productivity addressing and



                                                        37
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 38 of 43 Page ID #:38




  attempting to mitigate the actual and future consequences of the Data Breach, including but not

  limited to efforts spent researching how to prevent, detect, contest, and recover from identity theft,

  (vi) the continued risk to their PII, which remains in Defendant’s possession and is subject to

  further unauthorized disclosures so long as Defendant fails to undertake appropriate and adequate

  measures to protect PII in its continued possession, and (vii) future costs in terms of time, effort

  and money that will be expended to prevent, detect, contest, and repair the impact of the PII

  compromised as a result of the Data Breach for the remainder of the lives of Representative

  Plaintiff and Class Members.

         177.    As a direct and proximate result of Defendant’s conduct, Representative Plaintiff

  and Class Members have suffered and will continue to suffer other forms of injury and/or harm.

         178.    Defendant should be compelled to disgorge into a common fund or constructive

  trust, for the benefit of Representative Plaintiff and Class Members, proceeds that it unjustly

  received from them. In the alternative, Defendant should be compelled to refund the amounts that

  Representative Plaintiff and Class Members overpaid for Defendant’s services.


                                         COUNT EIGHT
                                       Declaratory Judgment
                                 (On behalf of the Nationwide Class)

         179.    Each and every allegation of the preceding paragraphs is incorporated in this Count

  with the same force and effect as though fully set forth therein.

         180.    Under the Declaratory Judgment Act, 28 U.S.C. § 2201, et seq., this Court is

  authorized to enter a judgment declaring the rights and legal relations of the parties and grant

  further necessary relief. Further, the Court has broad authority to restrain acts, such as here, that

  are tortious and violate the terms of the federal and state statutes described in this Complaint.




                                                   38
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 39 of 43 Page ID #:39




         181.    An actual controversy has arisen after the Data Breach regarding Representative

  Plaintiff’s and Class Members’ PII and whether Defendant is currently maintaining data security

  measures adequate to protect Representative Plaintiff and Class Members from further data

  breaches that compromise their PII. Representative Plaintiff allege that Defendant’s data security

  measures remain inadequate. Defendant publicly denies these allegations. Furthermore,

  Representative Plaintiff continue to suffer injury due to the compromise of their PII and remain at

  imminent risk that further compromises of their PII will occur in the future. It is unknown what

  specific measures and changes Defendant has undertaken in response to the Data Breach.

         182.    Representative Plaintiff and the Classes have an ongoing, actionable dispute arising

  out of Defendant’s inadequate security measures, including: (i) Defendant’s failure to encrypt

  Representative Plaintiff’s and Class Members’ PII, including Social Security numbers, while

  storing it in an Internet-accessible environment, and (ii) Defendant’s failure to delete PII it has no

  reasonable need to maintain in an Internet-accessible environment, including the Social Security

  numbers of Representative Plaintiffs.

         183.    Pursuant to its authority under the Declaratory Judgment Act, this Court should

  enter a judgment declaring, among other things, the following:

                 a.      Defendant owes a legal duty to secure the PII of Representative Plaintiff
                         and Class Members;

                 b.      Defendant continues to breach this legal duty by failing to employ
                         reasonable measures to secure consumers’ PII;

                 c.      Defendant’s ongoing breaches of its legal duty continue to cause
                         Representative Plaintiff harm.

         184.    This Court should also issue corresponding prospective injunctive relief requiring

  Defendant to employ adequate security protocols consistent with law, industry, and government




                                                   39
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 40 of 43 Page ID #:40




  regulatory standards to protect consumers’ PII. Specifically, this injunction should, among other

  things, direct Defendant to:

                  a.     engage third-party auditors, consistent with industry standards, to test its
                         systems for weakness and upgrade any such weakness found;

                  b.     audit, test and train its data security personnel regarding any new or
                         modified procedures and how to respond to a data breach;

                  c.     regularly test its systems for security vulnerabilities, consistent with
                         industry standards; and

                  d.     implement an education and training program for appropriate employees
                         regarding cybersecurity.


         185.     If an injunction is not issued, Representative Plaintiff will suffer irreparable injury,

  and lack an adequate legal remedy, in the event of another data breach at Defendant. The risk of

  another such breach is real, immediate, and substantial. If another breach at Defendant occurs,

  Representative Plaintiff will not have an adequate remedy at law because many of the resulting

  injuries are not readily quantified and they will be forced to bring multiple lawsuits to rectify the

  same conduct.

         186.     The hardship to Representative Plaintiffs, if an injunction is not issued, exceeds the

  hardship to Defendant if an injunction is issued. Representative Plaintiff will likely be subjected

  to substantial identity theft and other damage. On the other hand, the cost to Defendant of

  complying with an injunction by employing reasonable prospective data security measures is

  relatively minimal, and Defendant has a pre-existing legal obligation to use such measures.

         187.     Issuance of the requested injunction will satisfy the public interest. On the contrary,

  such an injunction would benefit the public by preventing another data breach at Defendant, thus

  eliminating the additional injuries that would result to Representative Plaintiff and others whose

  confidential information would be further compromised.

                                                    40
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 41 of 43 Page ID #:41




                                         RELIEF SOUGHT

         WHEREFORE, Representative Plaintiffs, on behalf of themselves and each member of

  the proposed National Class, respectfully request that the Court enter judgment in their favor and

  for the following specific relief against Defendant as follows:

         1.      That the Court declare, adjudge, and decree that this action is a proper class action

  and certify each of the proposed classes and/or any other appropriate subclasses under F.R.C.P.

  Rule 23 (b)(1), (b)(2), and/or (b)(3), including the appointment of Representative Plaintiff’s

  counsel as Class Counsel;

         2.      For an award of damages, including actual, nominal, and consequential damages,

  as allowed by law in an amount to be determined;

         3.      That the Court enjoin Defendant, ordering it to cease and desist from similar

  unlawful activities;

         4.      For equitable relief enjoining Defendant from engaging in the wrongful conduct

  complained of herein pertaining to the misuse and/or disclosure of Representative Plaintiff’s and

  Class Members’ PII, and from refusing to issue prompt, complete, and accurate disclosures to

  Representative Plaintiff and Class Members;

         5.      For injunctive relief requested by Representative Plaintiffs, including but not

  limited to injunctive and other equitable relief as is necessary to protect the interests of

  Representative Plaintiff and Class Members, including but not limited to an Order:

                 a.      prohibiting Defendant from engaging in the wrongful and unlawful acts
                         described herein;
                 b.      requiring Defendant to protect, including through encryption, all data
                         collected through the course of business in accordance with all applicable
                         regulations, industry standards and federal, state or local laws;
                 c.      requiring Defendant to delete and purge Representative Plaintiff’s and Class
                         Members’ PII unless Defendant can provide to the Court reasonable


                                                  41
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 42 of 43 Page ID #:42



                      justification for the retention and use of such information when weighed
                      against the privacy interests of Representative Plaintiff and Class Members;
               d.     requiring Defendant to implement and maintain a comprehensive
                      Information Security Program designed to protect the confidentiality and
                      integrity of Representative Plaintiff’s and Class Members’ PII;
               e.     requiring Defendant to engage independent third-party security auditors and
                      internal personnel to run automated security monitoring, simulated attacks,
                      penetration tests, and audits on Defendant’s systems on a periodic basis;
               f.     prohibiting Defendant from maintaining Representative Plaintiff’s and
                      Class Members’ PII on a cloud-based database;
               g.     requiring Defendant to segment data by creating firewalls and access
                      controls so that, if one area of Defendant’s network is compromised,
                      hackers cannot gain access to other portions of Defendant’s systems;
               h.     requiring Defendant to conduct regular database scanning and securing
                      checks;
               i.     requiring Defendant to establish an information security training program
                      that includes at least annual information security training for all employees,
                      with additional training to be provided as appropriate based upon the
                      employees’ respective responsibilities with handling PII, as well as
                      protecting the PII of Representative Plaintiff and Class Members;
               j.     requiring Defendant to implement a system of tests to assess its respective
                      employees’ knowledge of the education programs discussed in the
                      preceding subparagraphs, as well as randomly and periodically testing
                      employees’ compliance with Defendant’s policies, programs and systems
                      for protecting personal identifying information;
               k.     requiring Defendant to implement, maintain, review and revise as necessary
                      a threat management program to monitor Defendant’s networks for internal
                      and external threats appropriately, and assess whether monitoring tools are
                      properly configured, tested and updated;
               l.     requiring Defendant to meaningfully educate all Class Members about the
                      threats they face as a result of the loss of their confidential PII to third
                      parties, as well as the steps affected individuals must take to protect
                      themselves.

        6.     For prejudgment interest on all amounts awarded, at the prevailing legal rate;

        7.     For an award of attorney's fees, costs, and litigation expenses, as allowed by law;

        8.     For all other Orders, findings and determinations identified and sought in this

  Complaint.




                                                42
Case 2:23-cv-09960-CBM-MAA Document 1 Filed 11/24/23 Page 43 of 43 Page ID #:43




                                           JURY DEMAND

          Representative Plaintiff, individually and on behalf of the Plaintiff Class(es) and/or

  Subclass(es), hereby demands a trial by jury for all issues triable by jury.



  Dated: November 24, 2023                      By:      __/s/ Daniel Srourian
                                                Daniel Srourian, Esq.*
                                                SROURIAN LAW FIRM, P.C.
                                                3435 Wilshire Blvd., Suite 1710
                                                Los Angeles, California 90010
                                                Telephone: (213) 474-3800
                                                Facsimile:    (213) 471-4160
                                                Email:        daniel@slfla.com

                                                Counsel for Representative Plaintiff and the
                                                Proposed Class(es)




                                                   43
